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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE

MANIKANTA PASULA, LIKHITH BABU
GORRELA, THANUJ KUMAR
GUMMADAVELLI, HANGRUI ZHANG,
and HAOYANG AN, on behalf of themselves
and all those similarly situated,
        Plaintiffs,
   v.

U.S. DEPARTMENT OF HOMELAND               No. 1:25-cv-156
SECURITY;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, BOSTON FIELD
OFFICE;

U.S. IMMIGRATION AND CUSTOMS
ENFORCEMENT, MANCHESTER SUB-
FIELD OFFICE;

KRISTI NOEM, Secretary of the
Department of Homeland Security;

TODD LYONS, Acting Director of the
Immigration and Customs Enforcement;


        Defendants.




          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
    EXPEDITED MOTION FOR A CLASSWIDE PRELIMINARY INJUNCTION
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                                               INTRODUCTION

         Pursuant to Count 1 of Plaintiffs’ and class members’ Complaint for Declaratory and

Injunctive Relief, Plaintiffs request a preliminary injunction:

    A. Requiring Defendants to reinstate the F-1 student status and corresponding SEVIS
       immigration record for all students at (and Optional Practical Training participants
       affiliated with) any educational institutions (including colleges and universities) in New
       Hampshire, Massachusetts, Maine, Rhode Island, and Puerto Rico who had their F-1
       student status terminated and had their SEVIS immigration record correspondingly
       terminated by Defendants since March 1, 2025 where Defendants’ student status
       termination was neither (i) based on the criteria set forth in 8 C.F.R. § 214.1(d), (ii) because
       the student failed to maintain student status based on the criteria set forth in 8 C.F.R. §
       214.1(e)-(g), nor (iii) because the student failed to make normal progress toward
       completing a course of study under 8 C.F.R § 214.2(f)(5)(i);

    B. Enjoining Defendants from, in the future, terminating the F-1 student status and
       corresponding SEVIS immigration record for all students at (and Optional Practical
       Training participants affiliated with) any educational institutions (including colleges and
       universities) in New Hampshire, Massachusetts, Maine, Rhode Island, and Puerto Rico
       where (i) the criteria set forth in 8 C.F.R. § 214.1(d) is not satisfied, (ii) the student has not
       failed to maintain student status based on the criteria set forth in 8 C.F.R. § 214.1(e)-(g),
       and (iii) the student has not failed to make normal progress toward completing a course of
       study under 8 C.F.R § 214.2(f)(5)(i).

Further, pursuant to the concurrently filed Motion for Class Certification and Appointment of

Class Counsel, Plaintiffs request that the Court concurrently certify the proposed class to provide

this vital relief.

         Since at least March 1, 2025 1, Defendant United States Department of Homeland Security

(“DHS”) and their agents (collectively, “Defendants”) began, for unknown and unspecified

reasons, unilaterally terminating the F-1 student status of hundreds, if not thousands, of


1
  On March 27, Secretary of State Marco Rubio said the State Department had revoked 300 or more student visas
since approximately early March claiming these students were “lunatics” not in the United States just to study, but to
engage in activism. See Daniella Silva, Chloe Atkins, Julia Ainsley and Abigail Williams, “Trump takes aim at
foreign-born college students, with 300 visas revoked,” NBC News (Mar. 27, 2025),
https://www.nbcnews.com/news/us-news/trump-administration-takes-aim-immigrant-students-rcna198346;               Marc
Caputo, “Exclusive: Trump’s ‘pro-Hamas’ purge could block foreign students from colleges,” Axios.com (Mar. 27,
2025), https://www.axios.com/2025/03/27/trump-palestinian-hamas-purge-colleges-protests (“More than 300 foreign
students have had their student visas revoked in the three weeks ‘Catch and Revoke’ has been in operation, the official
said. There are 1.5 million student visa-holders nationwide.”).


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international students and Optional Practical Training (“OPT”) participants throughout the United

States and then reflecting that termination in the SEVIS [Student and Exchange Visitor] system. 2

        Plaintiffs Manikanta Pasula, Likhith Babu Gorrela, Thanuj Kumar Gummadavelli, Hangrui

Zhang, Haoyang An, and the proposed class members are the students affiliated with educational

institutions in New Hampshire, Maine, Massachusetts, Rhode Island, and Puerto Rico affected by

Defendants’ unilateral and unlawful termination of F-1 student status. As of April 10, 2025,

NAFSA: Association of International Educators estimated that more than 800 international

students’ and scholars’ status in the SEVIS 3 system had been terminated nationwide. 4 This

number has grown rapidly since then. Inside Higher Ed estimates that, as of April 17, 2025, over

240 colleges and universities have identified 1,480-plus international students and recent graduates

who have had their legal status changed. 5 As of April 11, 2025, New Hampshire, Maine,

Massachusetts, Rhode Island, and Puerto Rico collectively have at least 112 students whose F-1

student status has been terminated. 6

        It cannot be reasonably disputed that these students have lost their student status. For

example, on April 9, 2025, Thanuj Kumar Gummadavelli was informed by his university that his


2
   Elizabeth Román, “5 Umass Amherst students have visas revoked,” NHPR (Apr. 5, 2025),
https://www.nhpr.org/2025-04-05/5-umass-amherst-students-have-visas-revoked; Katy Stegall and Esmeralda Perez,
“Five USCD students’ visas revoked and additional person deported, university confirms,” CBS8 (Apr. 5, 2025),
https://www.cbs8.com/article/news/local/five-ucsd-students-f-1-visas-revoked-additional-deported/509-2c257e52-
4a31-42f7-8e3e-f6bd92a287b3; Molly Farrar, “Feds quietly revoke visas of multiple Umass, Harvard students,”
Boston.com (Apr. 6, 2025), https://www.boston.com/news/local-news/2025/04/06/feds-quietly-revoke-visas-of-
multiple-umass-harvard-students/.
3
  SEVIS is “the web-based system that [DHS] uses to maintain information regarding:” F-1 “students studying in the
United States[.]” https://studyinthestates.dhs.gov/site/about-sevis.
4
  Erica L. Steward, “NAFSA Releases Initial Analysis of Visa Revocations and other Actions Targeting International
Students and Scholars,” NAFSA (Apr. 10, 2025), https://www.nafsa.org/reports-of-actions-targeting-international-
students?fbclid=IwZXh0bgNhZW0CMTEAAR5GZENs_RyxYI5MAoN78Xe9b5PHOe21t7SWC5wOXzXCyZSJ3
XGOdpLp1xR3Tw_aem_xblT2XvJBYzdE17DPvcKMg.
5
          Inside         Higher          Ed,          “International      Student         Visas        Revoked,”
https://www.insidehighered.com/news/global/international-students-us/2025/04/07/where-students-have-had-their-
visas-revoked.
6
  Danny McDonald, et al., “Trump is revoking student visas. How many foreign students are there in New England?,”
The Boston Globe (Apr. 11, 2025), https://www.bostonglobe.com/2025/04/11/metro/student-visas-massachusetts-
new-england/.


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F-1 student status was terminated because his SEVIS record specifically indicated “Failure to

Maintain Status: Individual identified in criminal records check and/or has had their VISA

revoked. SEVIS record has been terminated.” Exhibit J (emphasis added). In other words,

Defendants were clear that his student status was terminated. Thanuj was not the only student

whose SEVIS record was terminated on the grounds of students’ failure to maintain status. Exhibit

EE; Exhibit T (“For a listing of over fifteen students terminated in SEVIS between April 3rd and

April 8th, the cause of termination was listed as ‘otherwise failing to maintain status.’”).

       Confirming that the termination of a SEVIS record reflects lack of student status, DHS’s

own website on the termination of SEVIS states that, “[w]hen an F-1/M-1 SEVIS record is

terminated[,]”   international   students     “lose[]   all   on-and/or   off-campus    employment

authorization[,]” “cannot re-enter the United States on the terminated SEVIS record[,]” ICE

“agents may investigate to confirm the departure of the student[,]” and “[a]ny associated F-2 or

M-2 dependent records are terminated.” Homeland Security, “TERMINATE A STUDENT,” the

Department of Homeland Security (Nov. 7, 2024) (attached as Exhibit CC). See also Homeland

Security, “TERMINATE OR REACTIVATE A DEPENDENT RECORD,” the Department of

Homeland Security (Mar. 17, 2023) (“When a dependent is terminated in SEVIS, it means that

dependent is no longer eligible for F-2 or M-2 status.”) (attached as Exhibit DD). After all, if

terminating a SEVIS record has no impact on student status, what would be the point of terminating

the SEVIS record? Of course, the termination of the SEVIS record must mean something. And,

as in Thanuj’s case and others, this SEVIS termination meant termination of student status,

especially where the students implicated have previously maintained their course of study without

issue. Schools too, consistent with DHS’s own website, understand that the termination of a

SEVIS record amounts to a termination of student status, which causes the student to lose their




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educational opportunities. And it is this loss of opportunity which may even—circularly—have

the effect of DHS later claiming that the students have failed to make “normal progress toward

completing a course of study.” 8 C.F.R. § 214.2(f)(5). On April 4, 2025, Manikanta Pasula

received an email from Rivier University making clear that his SEVIS record was terminated and,

thus, he was “out of status” due to the SEVIS termination. Exhibit B.

        The consequences of Defendants’ unilateral and unlawful termination are dire. The

termination puts students out of lawful immigration status.                    Plaintiffs and the class face

immigration detention and deportation. 7 Plaintiffs and the class face severe financial and academic

hardship. Further, Plaintiffs and the class are not able to obtain their degrees and work pursuant

to the Optional Practical Training (OPT) program after graduation. Indeed, Defendants’ unilateral

and unlawful terminations have severely disrupted the educational opportunities of students who

are in the middle of their studies (and in the middle of a semester) and who are simply trying to

obtain, often at considerable expense, an education in the United States while following all the

rules required of them.

        These injuries are real. Plaintiff Linkhith Babu Gorrela’s graduation date for his Master’s

program is May 20, 2025. Without a valid F-1 student status, he may not obtain his Master’s

degree. Nor can he participate in the OPT program after graduation. Plaintiff Hangrui Zhang’s

only source of income is his research assistantship, which has been cut off in light of the

termination of his F-1 student status. Plaintiff Haoyang An will have to abandon his Master’s

program despite having already invested $329,196 in his education in the United States. Similarly,



7
  See Samantha Davis, “Marshall resident detained by ICE on student visa,” Marshall Independent (Apr. 14, 2025),
(“Aditya Wahyu Harsono, a 33-year-old resident of Marshall and Indonesian citizen, was arrested by U.S. Immigration
and Customs Enforcement (ICE) agents on March 27. He was in the United States on an active F-1 student visa, which
was revoked without warning four days prior to his detainment.”), https://www.marshallindependent.com/news/local-
news/2025/04/marshall-resident-detained-by-ice-on-student-visa/.



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Plaintiff Thanuj Kumar Gummadavelli and Plaintiff Manikanta Pasula have only one semester left

before they can complete their Master’s degrees and participate in the OPT program. Their

graduation is unpredictable and unlikely unless this Court intervenes.

       Plaintiffs’ Motion for Preliminary Injunction is straightforward.        This lawsuit only

challenges Defendants’ revocation of student status. While Defendants’ reasons for these mass

terminations of student status are unclear, what is clear is that these terminations—across the

board—flout the applicable regulations governing student status termination (see 8 C.F.R. §

214.1(d)) and the regulations governing failure to maintain student status (see 8 C.F.R. § 214.1(e)-

(g), 8 C.F.R § 214.2(f)). Indeed, for the entire class, the applicable regulatory criteria has never

been satisfied justifying these terminations.

       The regulations distinguish between two separate ways in which a student may fall out of

status: (1) a student who “fails to maintain status,” which is ordinarily monitored and determined

by a DSO; and (2) an agency-initiated “termination of status.”

       Under the first way, F-1 student status can be terminated (and then subsequently reflected

in the SEVIS system) if students fail to maintain their status. Under 8 C.F.R. § 214.2(f)(5), an

international student does not maintain status if the student fails to make “normal progress toward

completing a course of study.” In addition, 8 C.F.R. § 214.1(e)-(g) outlines specific circumstances

where certain conduct by any nonimmigrant visa holder—such as engaging in “[a]ny unauthorized

employment[,]” “willful failure to provide full and truthful information requested by DHS[,]” and

“conviction in a jurisdiction in the United States for a crime of violence for which a sentence of

more than one year imprisonment may be imposed”—constitute “a failure to maintain [student]

status[.]” However, none of these conditions under either 8 C.F.R. § 214.2(f)(5) or 8 C.F.R. §

214.1(e)-(g) occurred for the Class Plaintiffs and class who have had their student status




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unilaterally revoked. These class members have made “normal progress toward completing a

course of study” under 8 C.F.R. § 214.2(f)(5). And the conditions of 8 C.F.R. § 214.1(e)-(g) have

not been met. These students have not been convicted of any crimes of violence. They have not

engaged in any unauthorized employment. And they have not provided any false information to

DHS.

        Under the second way for agency-initiated termination of F-1 student status, DHS’s ability

to terminate F-1 student status “is limited by [8 C.F.R.] § 214.1(d).” Jie Fang v. Director United

States Immigration & Customs Enforcement, 935 F.3d 172, 185 n. 100 (3d Cir. 2019). Under this

regulation, Defendants can terminate student status only when: (1) a previously granted waiver

under 8 U.S.C. § 1182(d)(3) or (4) is revoked; (2) a private bill to confer lawful permanent

residence is introduced in Congress; or (3) DHS publishes a notification in the Federal Register

identifying national security, diplomatic, or public safety reasons for termination. But, for Class

Plaintiffs and the entire class, none of these criteria has been satisfied, yet their student status has

been revoked anyway.

        This unilateral termination by DHS without consulting with DSOs at each school also is

unprecedented. It has been the historical practice of DHS to consult with DSOs to terminate

foreign students’ F-1 student status in the Student and Exchange Visitor Program (SEVIS) record.

Exhibit S at 4-5 (“I know of no situation where ICE terminated the SEVIS record. In fact, even if

ICE or SEVP are aware of a violation, their practice is to notify the DSO of the violation and ask

the DSO to investigate the matter and terminate the SEVIS record, if termination is warranted.”).

        To be clear, Plaintiffs and proposed class members do not challenge the revocation of any

F-1 visa, even assuming that their visas were actually revoked. Instead, Plaintiffs and class

members bring this lawsuit to challenge DHS’s unlawful termination of their F-1 student




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status. Indeed, the revocation of an F-1 visa does not constitute a failure to maintain F-1 student

status and, therefore, cannot serve as a basis for termination of F-1 student status. Once again, for

the agency-initiated termination of F-1 student status, DHS’s ability to terminate F-1 student status

“is limited by [8 C.F.R.] § 214.1(d).” Jie Fang, 935 F.3d at 185 n.100. Under this regulation, the

revocation of an F-1 visa does not provide a basis to terminate F-1 student status. DHS’s own

policy guidance confirms that “[v]isa revocation is not, in itself, a cause for termination of the

student’s SEVIS record.” ICE Policy Guidance 1004-04 – Visa Revocations (June 7,

2010) (emphasis added) (attached as Exhibit V). Rather, if the visa is revoked, the student is

permitted to pursue his course of study in school, but upon departure, the SEVIS record is

terminated, and the student must obtain a new visa from a consulate or embassy abroad before

returning to the United States. See Guidance Directive 2016-03, 9 FAM 403.11-3 – VISA

REVOCATION (Sept. 12, 2016) (attached as Exhibit W). If DHS seeks to terminate F-1 student

status (and then reflect said termination in the SEVIS system) after—or independent of—

revocation of an F-1 visa, DHS must comply with 8 C.F.R. § 214.1(d). See Jie Fang, 935 F.3d at

185 n.100. DHS has not done so here.

       Because Defendants unlawfully terminated Plaintiffs’ and class members’ F-1 student

status in an arbitrary and capricious manner and the existence of imminent harm is real, Plaintiffs

request that the Court issue the requested preliminary injunction.

                                FACTUAL BACKGROUND
                          Background on F-1 Student Visa and Status

       Under the statute, noncitizens can enroll in government-approved academic institutions as

F-1 students. See 8 U.S.C. § 1101(a)(15)(F). Students enter the United States on an F-1 visa

issued by the U.S. Department of State. Once they enter the United States with an F-1 visa,

students are granted F-1 student status and permitted to remain in the United States for the duration


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of status (D/S) as long as the student continues to meet the requirements established by the

regulations governing the student’s visa classification in 8 C.F.R. § 214.2(f), such as maintaining

a full course of study and avoiding unauthorized employment. DHS’s Student and Exchange

Visitor Program (SEVP) is in charge of administering the F-1 student program and tracking

information on students in F-1 student status.

          An academic institution must obtain formal approval from DHS before it can sponsor a

student’s F-1 status. An institution must first file an application for School Certification through

the Student and Exchange Visitor Information (SEVIS) system, a SEVP-managed Internet-based

system to track and monitor schools and noncitizen students in the United States. See 8 C.F.R. §

214.3. “Each school that educates F-1 students has a Designated School Official (‘DSO’) who

monitors, advises, and oversees the students attending his or her institution.” Jie Fang, 935 F.3d

at 175.

          For international students, they are “subject to an array of regulations.” Id. (citing 8 C.F.R.

§ 214.2(f)). “These include maintaining a full course of study[.]” Id. (citing 8 C.F.R. §

214.2(f)(6)). Students may also participate in “two types of practical training programs.” Id.

(citing 8 C.F.R. § 214.2(f)(10)(ii)). “Curricular Practical Training (‘CPT’) is any ‘alternative

work/study, internship, cooperative education, or any other type to required internship or

practicum that is offered by sponsoring employers through cooperative agreements with the

school’ that is an ‘integral part of an established curriculum.’” Id. (quoting 8 C.F.R. §

214.2(f)(1)(i)). As its name suggests, CPT is usually integrated into occurs during the course of

study and is available to the student before its program completion.

          “The other is Optional Practical Training (‘OPT’) which consists of temporary employment

that is ‘directly related to the student’s major area of study.’” Id. (quoting 8 C.F.R. §




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214.2(f)(1)(ii)). OPT usually occurs at the end of the completion of the studies. In addition,

“[c]ertain F-1 students who receive science, technology, engineering, and mathematics (STEM)

degrees may apply for a 24-month extension of their post-completion” OPT. USCIS, Optional

Practical Training Extension for STEM Students (STEM OPT) 8 (attached as Exhibit II).

        “Once a student has completed his or her course of study and any accompanying practical

training, he or she has sixty days to either depart the United States or transfer to another accredited

academic institution and seek a transfer of the F-1 visa.” Jie Fang, 935 F.3d at 175 (citing 8 C.F.R.

§ 214.2(f)(5)(iv)). “If a student voluntarily withdraws from the F-1 program, he or she has fifteen

days to leave the United States.” Id. “A student who ‘fails to maintain a full course of study

without the approval of the DSO or otherwise fails to maintain status’ must depart the United

States immediately or seek reinstatement.” Id. (quoting 8 C.F.R. § 214.2(f)(5)(iv)).

        Under the regulation, DSOs at schools must report through SEVIS to SEVP when a student

fails to maintain status. See 8 C.F.R. § 214.3(g)(2). SEVIS termination is governed by SEVP

policy and regulations. DHS has shared its view that the termination of a student’s SEVIS record

means that the student “no longer ha[s] valid F-1 nonimmigrant status and must either file for

reinstatement of [his] nonimmigrant student status with U.S. Citizenship and Immigration Services

(USCIS) or depart the United States immediately.” Jie Fang, 935 F.3d at 177 (quoting DHS’s

letter “to inform those students that their valid F-1 status had been terminated”). Indeed, according

to DHS’s website on the termination of SEVIS, “[w]hen an F-1/M-1 SEVIS record is

terminated[,]”     international      students     “lose[]    all   on-and/or      off-campus       employment

authorization[,]” “cannot re-enter the United States on the terminated SEVIS record[,]” ICE

“agents may investigate to confirm the departure of the student[,]” and “[a]ny associated F-2 or


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     https://www.uscis.gov/working-in-the-united-states/students-and-exchange-visitors/optional-practical-training-
extension-for-stem-students-stem-opt.


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M-2 dependent records are terminated.” Homeland Security, “TERMINATE A STUDENT,” the

Department of Homeland Security (Nov. 7, 2024) 9 (attached as Exhibit CC). See also Homeland

Security, “TERMINATE OR REACTIVATE A DEPENDENT RECORD,” the Department of

Homeland Security (Mar. 17, 2023) 10 (attached as Exhibit DD) (“When a dependent is terminated

in SEVIS, it means that dependent is no longer eligible for F-2 or M-2 status.”).

        Again, the regulations distinguish between two separate ways in which a student may fall

out of status: (1) a student who “fails to maintain status,” which is ordinarily monitored and

determined by a DSO; and (2) an agency-initiated “termination of status.”

        For the failure to maintain F-1 student status basis for termination, F-1 student status can

be terminated (and then subsequently reflected in the SEVIS system) if students fail to maintain

their status. Under 8 C.F.R. § 214.2(f)(5), an international student does not maintain status if the

student fails to make “normal progress toward completing a course of study.” In addition, 8 C.F.R.

§ 214.1(e)-(g) outlines specific circumstances where certain conduct by any nonimmigrant visa

holder, such as engaging in unauthorized employment, providing false information to DHS, or

being convicted of a crime of violence with a potential sentence of more than a year, “constitute a

failure to maintain status.”

        Separately, for the agency-initiated termination of F-1 student status, DHS’s ability to

terminate F-1 student status “is limited by [8 C.F.R.] § 214.1(d).” Jie Fang, 935 F.3d at 185

n.100. Under this regulation, DHS can terminate F-1 student status only when: (1) a previously

granted waiver under 8 U.S.C. § 1182(d)(3) or (4) is revoked; (2) a private bill to confer lawful




9
  https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-terminations/terminate-a-student.
10
     https://studyinthestates.dhs.gov/sevis-help-hub/student-records/dependents/terminate-or-reactivate-a-dependent-
record.


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permanent residence is introduced in Congress; or (3) DHS publishes a notification in the Federal

Register identifying national security, diplomatic, or public safety reasons for termination. Id.

           The revocation of an F-1 visa does not constitute a failure to maintain F-1 student status

and, therefore, cannot serve as a basis for termination of F-1 student status. If an F-1 visa is

revoked before the student’s arrival in the United States, the student may not enter, and his SEVIS

record is terminated. However, the SEVIS record may not be terminated as a result of visa

revocation after a student has been admitted into the United States because the student is permitted

to continue the authorized course of study. See ICE Policy Guidance 1004-04 – Visa Revocations

(June 7, 2010) 11 (attached as Exhibit V).

           DHS’s own policy guidance confirms that “[v]isa revocation is not, in itself, a cause for

termination of the student’s SEVIS record.” Id. Rather, if the visa is revoked, the student is

permitted to pursue his course of study in school, but upon departure, the SEVIS record is

terminated, and the student must obtain a new visa from a consulate or embassy abroad before

returning to the United States. See Guidance Directive 2016-03, 9 FAM 403.11-3 – VISA

REVOCATION (Sept. 12, 2016) 12 (attached as Exhibit W).

           While a visa revocation can be charged as a ground of deportability in removal

proceedings, deportability can be contested in such proceedings. See 8 U.S.C. § 1227(a)(1)(B); 8

U.S.C. § 1201(i). The Immigration Judge may also even dismiss removal proceedings where a

visa is revoked, so long as a student is able to remain in valid status or otherwise reinstated to F-1

student status. See 8 C.F.R. § 1003.18(d)(ii)(B). See also Aff. of Attorney Stephanie Elona Young

Marzouk (attached as Exhibit U). Status would be lost only when a final removal order is entered.




11
     https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf.
12
     https://www.aila.org/library/dos-guidance-directive-2016-03-on-visa-revocation.


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          The Immigration Judge has no ability to review the F-1 student status termination in the

SEVIS system because the process is collateral to removal proceedings. See Jie Fang, 935 F.3d

at 183.

          Students whose F-1 student status has been terminated may seek reinstatement. Under

regulations, “a district director in the U.S. Citizenship and Immigration Services (‘USCIS’) ‘may

consider’ reinstating a student who demonstrates that he or she: 1) ‘has not been out of [valid F-1

student] status for more than 5 months at the time of filing the request for reinstatement’ or that

‘the failure to file within the 5 month period was the result of exceptional circumstances and that

the student filed the request for reinstatement as promptly as possible under these exceptional

circumstances;’ 2) does ‘not have a record of repeated or willful violations of Service regulations’;

3) is pursuing or intends to pursue a full course of study; 4) has not engaged in unauthorized

employment; 5) is not deportable on any ground other than 8 U.S.C. § 1227(a)(1)(B) and (C)(i);

and 6) can prove that the violation of status resulted from circumstances beyond the student’s

control, or that the violation relates to a reduction in the student’s course load that would have

otherwise been permitted if authorized by the school and that failure to approve reinstatement

would result in extreme hardship to the student.” Jie Fang, 935 F.3d at 176 (citing and quoting 8

C.F.R. § 214.2(f)(16)(i)(A)-(F)).

                          Termination of Plaintiffs’ F-1 Student Status

          Manikanta Pasula

          Manikanta Pasula is a 25-year-old F-1 student at Rivier University in New Hampshire.

Manikanta is a citizen and national of India. Manikanta came to the United States under an F-1

visa to study at the University of Bridgeport in Connecticut on January 5, 2024. Due to personal




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reasons, he transferred to Rivier University on January 29, 2024. He is majoring in computer

science.

       On March 25, 2024, Manikanta was arrested and charged without a valid U.S. license while

he was driving with his Indian driver’s license (but not an International Driving Permit). However,

New Hampshire permits the use of an International Driving Permit for up to 60 days after an

international student’s arrival in the United States, and Manikanta was driving within that 60-day

window. Not being familiar with the United States criminal justice system, he pled guilty and paid

a $248 fine. After this incident, he immediately obtained a valid U.S. driver’s license.

       Manikanta is in the process of completing his third semester. After this semester, he has

one more semester before he can get his degree and also apply for OPT in the field of computer

science. He has spent approximately $45,000 on his education in the United States.

       On April 4, 2025, Manikanta received an email from Rivier University that the State

Department revoked his visa. In the same email, the University indicated that his SEVIS record

was terminated and that he was out of status due to the SEVIS termination. Exhibit B.

       On April 10, 2025, Manikanta separately received an email from the U.S. Consulate

General, Mumbai, that confirmed that his visa was revoked. Exhibit C. The email from the U.S.

Consulate General indicated that “[r]emaining in the United States without a lawful immigration

status can result in fines, detention, and/or deportation.” Id.

       The termination is a significant concern to Manikanta, as his legal status in the United

States is entirely dependent on the SEVIS record being active and in good standing. Further, the

termination will affect his ability to successfully complete his academic program and pursue OPT,

which is an essential part of his career development and future plans.

       Likhith Babu Gorrela




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       Likhith Babu Gorrela is a 23-year old F-1 student at Rivier University in New Hampshire.

Likhith is a citizen and national of India. On August 19, 2023, Likhith came to the United States

on an F-1 student visa. He initially received a visa to attend the University of New Haven’s

Master’s program in Supply Chain Management. However, he transferred his studies to Rivier

University to obtain a Master’s degree in Computers and Information Systems. Likhith has

maintained a GPA of 3.6 through consistent dedication and academic integrity. He is in the final

stage of his program, with only one course remaining and a few classes left to attend before he

completes all degree requirements.

       On May 30, 2024, Likhith was charged without a valid U.S. license while he was driving

with an International Driving Permit. Thereafter, he immediately obtained a valid U.S. driver’s

license while the charge was pending. This charge was then nolle prossed.

       On April 4, 2025, the school informed Likhith about the termination of his SEVIS record.

However, he did not receive any notice or explanation as to why his criminal issue (driving without

a valid license) was sufficient to terminate his student status. On April 8, 2025, Likhith received

an email from the U.S. Embassy in India that his visa was revoked.

       In light of this termination of his F-1 student status, he may not be able to graduate. His

graduation date is May 20, 2025. His eligibility for this OPT program is also in jeopardy. Likhith

is also concerned about possible immigration detention and deportation.

       Thanuj Kumar Gummadavelli

       Thanuj Kumar Gummadavelli is a 23-year old F-1 student at Rivier University in New

Hampshire. Thanuj is a citizen and national of India. Thanuj entered the United States in

December 2023 to begin his Master’s program in computer science.




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       In August 2024, Thanuj was charged with speeding and a traffic misdemeanor for failing

to carry a valid U.S. driver’s license. He was instead carrying a valid international driving permit

at the time, but he was outside the 60-day window in which this international driving permit was

valid in New Hampshire. Before his scheduled September 11, 2024 court date, he obtained his

U.S. driver’s license. On September 11, 2024, he presented his U.S. license before a judge and

the charge was nolle prossed. He pled guilty to speeding at the court date and paid the required

$124 fine.

       On April 9, 2025, Thanuj received an email from Rivier University that his F-1 student

status was terminated because his SEVIS record specifically indicated “Failure to Maintain Status:

Individual identified in criminal records check and/or has had their VISA revoked. SEVIS record

has been terminated.” Exhibit J. (emphasis added). In other words, Defendants were clear that

his student status was terminated. On April 11, 2025, Thanuj received an email from the U.S.

Embassy in India that his visa was revoked.

       Thanuj has a fear for his safety and future because of the termination of his F-1 student

status. The termination has put his education and career trajectory at risk, including whether he

could finish his studies and obtain his degree. In light of the termination, his plan of graduating

and completing his Master’s program is in jeopardy. For his Master’s degree, both his advisor and

the department expect him to complete the coursework program by December 2025.

       Hangrui Zhang

       Hangrui Zhang is a 23-year old F-1 student at Worcester Polytechnic Institute (WPI) in

Massachusetts. Hangrui is a citizen and national of China. Hangrui entered the United States in

August 2023 to begin his Ph.D. in Electronic and Computer Science at WPI. During these years,

he has kept a GPA of 4.0 out of 4.0.




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       In December 2024, stemming from a misunderstanding, Hangrui was arrested and charged

with a misdemeanor. However, his case was dismissed through the pretrial diversion.

       On April 9, 2025, Hangrui was informed that his SEVIS record was terminated. The SEVIS

record indicated the following: “OTHER – Individual identified in criminal records check and/or

has had their VISA revoked. SEVIS record has been terminated.” Exhibit N. The termination of

his F-1 visa status has left him deeply worried about both his personal safety and long-term future.

Not knowing where he stands legally in the United States has caused significant emotional distress,

especially after years of dedicated effort toward his academic and career aspirations.

       Without F-1 student status, his ability to continue his studies, contribute to research, and

pursue his professional goals is in jeopardy. He is terrified of being compelled to leave the United

States before completing his Ph.D., which would interrupt everything he has worked for. Hangrui

is no longer permitted to work as a research assistant, nor can he receive financial support from

his doctoral program. This has created serious academic and financial hardship, as the assistantship

was not only his sole income source but also an essential part of his Ph.D. training.

       As a second-year doctoral student, Hangrui is expected to prepare a publication under his

advisor’s supervision. However, because he is now unable to conduct research, this could

significantly slow his academic progress and delay major milestones, including his Ph.D.

qualification. Hangrui has already fulfilled most of the coursework requirements. At this stage of

his doctoral studies, research has become his primary focus. As a Ph.D. candidate, his department

has a Diagnostic Examination Requirement which says: The doctoral student is required to

complete the diagnostic examination requirement during the first year beyond the M.S. degree (or

equivalent number of credits, for students admitted directly to the Ph.D. program) with a grade of




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Pass. As a student who was admitted directly into the Ph.D. program, he is currently completing

the M.S. degree requirements and is scheduled to take the associated examination next year.

       However, since the termination of his SEVIS record, his funding has been cut off, forcing

him to halt his research activities with his advisor. This disruption has had a serious impact on the

progress of his work, and his Research Advisor and Committee will assess his performance within

the context of these challenges. If he fails this examination, he will be removed from the graduate

program, effectively ending his pursuit of a Ph.D.

       Haoyang An

       Haoyang An is a 25-year-old F-1 student at Worcester Polytechnic Institute (WPI) in

Massachusetts. Haoyang is a citizen and national of China. Haoyang first came to the United

States under an F-1 visa to study at the University of Connecticut on August 18, 2018. On August

24, 2022, Haoyang graduated with the Bachelor of Arts in Applied Mathematics. On September

5, 2022, Haoyang started to pursue his first Master’s degree at Boston University. On May 19,

2024, he obtained a Master of Science degree in Applied Business Analytics. On August 22, 2024,

Haoyang started his second Master’s degree at WPI. Haoyang has one more semester left to finish

his degree. He was planning to apply for a PhD program at WPI next semester. For his

undergraduate and master programs, Haoyang has invested $329,196 so far for his United States

education.

       In September 2023, Haoyang had a misdemeanor charge for driving without an active

insurance policy in Massachusetts. Later, this offense was dismissed.

       On April 9, 2025, WPI International Student Officer notified that Haoyang that his F-1

student status in the SEVIS record was terminated based on the following reason: “OTHER –

Individual identified in criminal records check and/or has had their VISA revoked. SEVIS record




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has been terminated.” Exhibit Q. Haoyang did not receive any email from the U.S. Embassy on

his visa revocation. In light of the termination, Haoyang’s plan to complete his Master’s degree

in Data Science and his plan to apply for a Ph.D. program in the United States is in jeopardy.

Haoyang is also concerned about possible immigration detention and deportation.

                                   Relevant Cases and Orders

       Since the Defendants’ unilateral and unlawful termination of international students’ F-1

students, several individual courts, including this Court, have issued Temporary Restraining

Orders to enjoin Defendants’ termination of F-1 student status and require Defendants to set aside

their termination determinations. See, e.g., Liu v. Noem, 1:25-cv-133-SM-TSM (D.N.H.), ECF

13; Doe v. Noem, 1:25-cv-10904-PBS (D. Mass.), ECF 11; Wu v. Lyons, 1:25-cv-1979 (E.D.N.Y.),

ECF 9 (attached as Exhibit JJ); Isserdasani v. Noem, 3:25-cv-283-wmc, ECF 7 (attached as Exhibit

KK); Roe v. Noem, 2:25-cv-40-DLC (D. Mont.), ECF 11 (attached as Exhibit LL).

                                   STANDARD OF REVIEW

       To obtain a preliminary injunction, the movant must show “(1) the probability of the

movant’s success on the merits of their claim(s); (2) the prospect of irreparable harm absent the

injunction; (3) the balance of the relevant equities (focusing upon the hardship to the movant if an

injunction does not issue as contrasted with the hardship to the nonmovant if it does); and (4) the

effect of the court’s action on the public interest.” New Hampshire Indonesian Community Support

v. Trump, No. 25-cv-38-JL-TSM, 2025 U.S. Dist. LEXIS 24055, at *5-6 (D.N.H. Feb. 11, 2025)

(quoting Santiago v. Mun. of Utuado, 114 F.4th 25, 34-35 (1st Cir. 2024)).

       “The movant’s likelihood of success on the merits weighs most heavily in the preliminary

injunction calculus.” Id. (quoting Ryan v. U.S. Immigr. & Customs Enf’t, 974 F.3d 9, 18 (1st Cir.

2020)). “The third and fourth factors ‘merge when the [g]overnment is the opposing party.’” Id.

(quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).


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       All of these factors are satisfied here.

                                           ARGUMENT

1.     PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
       CLAIM

       Defendants’ termination of Plaintiffs’ and class members’ F-1 student status was unlawful.

It violates the Administrative Procedure Act, 5 U.S.C. § 706(2)(A), as arbitrary, capricious, an

abuse of discretion, and otherwise not in accordance with the law, including the regulatory regime

at 8 C.F.R. § 214.1(d).

       Defendants’ termination of Plaintiff’s F-1 student status violates the Administrative

Procedure Act (“APA”). As a preliminary matter, Defendants’ termination of Plaintiffs’ and class

members’ F-1 student status is a final agency action for which this Court has jurisdiction to review.

See Jie Fang, 935 F.3d at 182 (“[t]he order terminating these students’ F-1 visas marked the

consummation of the agency’s decisionmaking process, and is therefore a final order”). Indeed—

and critically—DHS has shared its view that the termination of a student’s SEVIS record means

that the student “no longer ha[s] valid F-1 nonimmigrant status and must either file for

reinstatement of [his] nonimmigrant student status with U.S. Citizenship and Immigration Services

(USCIS) or depart the United States immediately.” Jie Fang, 935 F.3d at 177 (quoting DHS’s

letter “to inform those students that their valid F-1 status had been terminated”). In other words,

the termination of a SEVIS record means that student status has been terminated. Confirming this

interpretation, DHS’s own website on the termination of SEVIS states that, “[w]hen an F-1/M-1

SEVIS record is terminated[,]” international students “lose[] all on-and/or off-campus

employment authorization[,]” “cannot re-enter the United States on the terminated SEVIS

record[,]” ICE “agents may investigate to confirm the departure of the student[,]” and “[a]ny

associated F-2 or M-2 dependent records are terminated.” Homeland Security, “TERMINATE A


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STUDENT,” the Department of Homeland Security (Nov. 7, 2024) (attached as Exhibit CC). See

also Homeland Security, “TERMINATE OR REACTIVATE A DEPENDENT RECORD,” the

Department of Homeland Security (Mar. 17, 2023) (“When a dependent is terminated in SEVIS,

it means that dependent is no longer eligible for F-2 or M-2 status.”) (attached as Exhibit DD).

Thus, this Court has jurisdiction over Defendants’ termination of F-1 student status. Indeed,

Defendants initially terminated Plaintiffs and class members on the ground that they failed to

maintain their status. Exhibit J; Exhibit T; Exhibit EE. The failure to maintain status basis renders

international students out of F-1 student status.

       On the merits, Defendants had no statutory or regulatory authority to terminate Plaintiff’s

F-1 student status based simply on revocation of a visa or a criminal record check. This is for two

straightforward reasons.

       First, DHS’s ability “to terminate an F-1 [student status] is limited by [8 C.F.R.] §

214.1(d).” Jie Fang, 935 F.3d at 185 n.100. Under this regulation, DHS can terminate student

status only when: (1) a previously granted waiver under 8 U.S.C. § 1182(d)(3) or (4) is revoked;

(2) a private bill to confer lawful permanent residence is introduced in Congress; or (3) DHS

publishes a notification in the Federal Register identifying national security, diplomatic, or public

safety reasons for termination. This criterion has not been met here for Class Plaintiffs and the

class. Neither an arrest nor the revocation of a visa constitute a failure to maintain status and

cannot, therefore, serve as a basis for termination of F-1 student status.

       Indeed, if a visa is revoked before the student’s arrival in the United States, the student

may not enter, and his SEVIS record of F-1 student status is terminated. However, the SEVIS

record of F-1 student status may not be terminated as a result of visa revocation after a student has

been admitted into the United States because the student is permitted to continue the authorized




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course of study. See ICE Policy Guidance 1004-04 – Visa Revocations (June 7, 2010). 13 (attached

as Exhibit V). DHS’s own policy guidance confirms that “[v]isa revocation is not, in itself, a cause

for termination of the student’s SEVIS record.” Id. Rather, if the visa is revoked, the student is

permitted to pursue his course of study in school, but upon departure, the SEVIS record of F-1

student status is terminated, and the student must obtain a new visa from a consulate or embassy

abroad before returning to the United States. See Guidance Directive 2016-03, 9 FAM 403.11-3

– VISA REVOCATION (Sept. 12, 2016). 14 (attached as Exhibit W). See also Exhibit S at 5 ¶15

(“The statement from ICE clearly states that even after visa revocation an F-1 student maintains

status, and the agency will contact the DSO to confirm the student is maintaining visa status.”).

           Second, under the applicable regulation, Plaintiffs and class members have maintained their

F-1 student status. The revocation of a visa or the conviction of a non-violent charge do not cause

students to fall out of student status. Students fail to maintain their status when they do not comply

with the regulatory requirement, such as failing to maintain a full course of study, engaging in

unauthorized employment, or other violations of their requirements under 8 C.F.R. § 214.2(f). In

addition, 8 C.F.R. § 214.1(e)-(g) outlines specific circumstances where certain conduct by any

nonimmigrant visa holder, such as engaging in unauthorized employment, providing false

information to DHS, or being convicted of a crime of violence with a potential sentence of more

than a year, “constitute a failure to maintain status.” However, none of these violations occurred

in Plaintiffs’ and class members’ cases. Thus, they maintained their student status even if F-1

visas were revoked or if the student was convicted of a non-violent charge. Here, Class Plaintiffs

and the class have not been convicted of any crimes that would lead to loss of status. They have




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     https://www.ice.gov/doclib/sevis/pdf/visa_revocations_1004_04.pdf.
14
     https://www.aila.org/library/dos-guidance-directive-2016-03-on-visa-revocation.


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not engaged in any unauthorized employment. Nor have they provided any false information to

DHS.

       Because Defendants unlawfully terminated Plaintiffs’ F-1 student status without any

statutory or regulatory authority, Defendants’ termination should be set aside pursuant to 5 U.S.C.

§ 706(2)(A) as arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with

the law, including 8 C.F.R. § 214.1(d).

2.     PLAINTIFFS HAVE SUFFERED AND WILL CONTINUE TO SUFFER
       IRREPARABLE HARM ABSENT PRELIMINARY INJUNCTION

       Class Plaintiffs and class members will suffer irreparable injury if Defendants’ student

status termination determination is not set aside and enjoined.

       First, Class Plaintiffs and class members cannot make normal progress in their studies. See

Liu, 1:25-cv-133-SE-TSM, ECF 13 at 4 (“This loss of timely academic progress alone is sufficient

to establish irreparable harm.”); Aff. of Hangrui Zhang at 3 ¶14 (“Being unable to carry on with

my research as a result of my SEVIS record termination would interfere with my academic

schedule and potentially postpone my degree completion.”) (attached as Exhibit M); Aff. of

Likhith Babu Gorrela at 3 ¶¶11-12 (“I was nearing the completion of my degree, with only one

subject remaining to graduate . . . [but] [w]ith this termination, I cannot finish my studies and

obtain the Master’s degree” and “will not [be] allow[ed] [] to apply for the Optional Practical

Training (OPT) to gain practical experience even if I can graduate from the school.”) (attached as

Exhibit E); Aff. of Thanuj Kumar Gummadavelli at 2 ¶13 (“The termination puts my education

and career trajectory at risk, and I fear not being able to complete and obtain my Master’s degree.”)

(attached as Exhibit I); Aff. of Haoyang An at 3 ¶¶15-16 (“In this situation, I might not be able to

attend the GQP course in person since my F-1 student status in SEVIS is being terminated. This

termination further jeopardizes my PhD program application in the future because of the possible



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out of student status” and “in light of the termination, I will not be able to participate in the Optional

Practical Training (OPT).”) (attached as Exhibit P).

        Second, “the change in [Plaintiff’s and class members’] [student] status in the SEVIS

system may expose [them] to a risk of detention or deportation.” Liu, 1:25-cv-133-SE-TSM, ECF

13 at 4. “Deportation is a drastic measure, often amounting to lifelong banishment or exile.”

Hernandez-Lara v. Lyons, 10 F.4th 19, 29 (1st Cir. 2021) (internal quotations omitted); see also

id. at 28 (“[i]n our society liberty is the norm, and detention prior to trial or without trial is the

carefully limited exception”) (quoting United States v. Salerno, 481 U.S. 739, 755 (1987)). See

Aff. of Hangrui Zhang at 2 ¶10 (“The cancellation of my SEVIS record has left me fearful of

possible immigration detention and removal from the country, as I may no longer hold valid

student status. I am especially concerned about being abruptly detained and transferred to distant

locations such as Louisiana.”) (attached as Exhibit M); Aff. of Likhith Babu Gorrela at 3 ¶12 (“the

fear that I will be arrested and sent to other parts of the country”) (attached as Exhibit E); Aff. of

Thanuj Kumar Gummadavelli at 2 ¶13 (“I further fear that I would be detained in other parts of

the country such as Louisiana after being abruptly detained.”) (attached as Exhibit I); Aff. of

Haoyang An at 3 ¶17 (“I also worry about the possible immigration detention and deportation.

Without having any valid student status, I fear that I could be detained and lose my ability to finish

my degree and not pursue my future academic path.”) (attached as Exhibit P). Indeed, Defendants

have arrested international students after revoking their visas. 15




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   See Samantha Davis, “Marshall resident detained by ICE on student visa,” Marshall Independent (Apr. 14, 2025),
(“Aditya Wahyu Harsono, a 33-year-old resident of Marshall and Indonesian citizen, was arrested by U.S. Immigration
and Customs Enforcement (ICE) agents on March 27. He was in the United States on an active F-1 student visa, which
was revoked without warning four days prior to his detainment.”), https://www.marshallindependent.com/news/local-
news/2025/04/marshall-resident-detained-by-ice-on-student-visa/.


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          Relatedly, this Court’s order of setting aside Defendants’ termination of Plaintiffs’ and

class members’ F-1 student status can provide a critical form of relief and defense in removal

proceedings. See Exhibit U at ¶3 (explaining an example where “once USCIS had granted

reinstatement [of F-1 student status] to [a] student, the Immigration Judge granted [the student’s]

request to terminate the student’s removal proceedings . . . because the student had gained lawful

status” even when the student’s visa was revoked).

3.        THE BALANCE OF HARDSHIPS AND PUBLIC INTEREST WEIGHT
          HEAVILY IN PLAINTIFFS’ FAVOR

          Plaintiffs and class members face weighty hardships: inability to complete their studies and

participate in practical programs, severe financial hardships, and potential detention and

deportation. By contrast, Defendants have no substantial interest in terminating Plaintiffs’ and

class members’ F-1 student status not pursuant to the regulations. Indeed, “Congress’s expressed

intent to allow foreign students to pursue education opportunities in the United States without

interference” weighs in Plaintiffs’ and class members’ favor. Liu, 1:25-cv-133-SE-TSM, ECF 13

at 4-5.

          Defendants have no legitimate interest in enforcing their unlawful termination or in

exceeding Defendants’ statutory and regulatory authority by terminating Plaintiff’s F-1 student

status in a manner that is contrary to federal law, and “the public interest is harmed by the

enforcement of [termination determination] repugnant to the United States Constitution.” Tirrell

v. Edelblut, No. 24-CV-251-LM-TSM, 2024 WL 3898544, at *6 (D.N.H. Aug. 22, 2024). See,

e.g., Jie Fang, 935 F.3d at 176 (“Purported ‘fraudulent enrollment’ in an institution is not a

statutorily authorized reason for termination a student’s F-1 [student] status.”) (citing 8 C.F.R. §

214.1(d)).




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       Thus, the balance of equities and the public interest both strongly favor preliminary

injunction.

4.     PLAINTIFFS HAVE DEMONSTRATED ELIGIBILITY FOR CLASS
       CERTIFICATION FOR PURPOSES OF PRELIMINARY INJUNCTIVE RELIEF

       Plaintiffs have demonstrated eligibility for class certification for purposes of preliminary

injunctive relief. As explained in Plaintiffs’ separate Motion for Class Certification, Plaintiffs seek

preliminary injunctive relief for themselves and for putative class members consisting of:

       All current or future students at (and Optional Practical Training participants
       affiliated with) any educational institutions (including colleges and universities) in
       New Hampshire, Massachusetts, Maine, Rhode Island, and Puerto Rico who had
       their F-1 student status terminated and had their SEVIS immigration record
       correspondingly terminated by Defendants on or after March 1, 2025 where
       Defendants’ student status termination was neither (i) based on the criteria set forth
       in 8 C.F.R. § 214.1(d), (ii) because the student failed to maintain student status
       based on the criteria set forth in 8 C.F.R. § 214.1(e)-(g), nor (iii) because the student
       failed to make normal progress toward completing a course of study under 8 C.F.R
       § 214.2(f)(5)(i). This class excludes any current student or Optional Practical
       Training participant who otherwise satisfies this class definition but who has a
       pending lawsuit challenging the termination of student status or a SEVIS record.

This Court has also permitted a provisional certification of a proposed class for the limited purpose

of providing preliminary relief. See Gomes v. Acting Sec’y, No. 20-cv-453-LM, 2020 U.S. Dist.

LEXIS 77945, at *2 (D.N.H. May 4, 2020 (“The court will provisionally certify the proposed class

for the limited purpose of holding expedited bail hearings for class members.”); Damus v. Nielsen,

313 F. Supp. 3d 317, 328 (D.D.C. 2018) (“To achieve meaningful relief with respect to DHS’s

allegedly unlawful actions, Plaintiffs sensibly ask this Court to provisionally certify a class.”).

       Class Plaintiffs are currently only seeking through this Motion expedited treatment and

resolution of their request to certify the Regulatory Class for the claim in Count 1 of the Class

Action Complaint. Immediate (or even provisional) certification of the Regulatory Class will

permit this Court to provide broad-based, preliminary through this Motion for Preliminary



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Injunction to scores of injured students throughout New Hampshire, Massachusetts, Maine, Rhode

Island, and Puerto Rico who are being irreparably harmed.

5.     NO SECURITY SHOULD BE REQUIRED

       Federal Rule of Civil Procedure 65(c) provides that “[t]he court may issue a preliminary

injunction . . . only if the movant gives security in an amount that the court considers proper to pay

the costs and damages sustained by any party found to have been wrongfully enjoined.” A district

court has “substantial discretion to dictate the terms of an injunction bond.” HCC Specialty

Underwriters, Inc. v. Woodbury, 289 F. Supp. 3d 303, 330 (D.N.H. 2018) (quoting Int’l Ass’n of

Machinists & Aerospace Workers v. Eastern Airlines, Inc., 925 F.2d 6, 9 (1st Cir. 1991)).

       For example, in Nat’l Ass’n of Diversity Officers in Higher Educ. v. Trump, the court set a

nominal bond of zero dollars in connection with the preliminary injunction sought by plaintiffs to

protect their First and Fifth Amendment rights. No. 1:25-CV-00333-ABA, 2025 WL 573764, at

*30 (D. Md. Feb. 21, 2025). The court determined that a bond of the size the government appeared

to seek would essentially forestall plaintiffs’ access to judicial review. Id.

       Here, the Court should not require security in this case based on the Plaintiffs’ likelihood

of success in prevailing on the claims and the fact that there is no realistic likelihood of harm to

Defendants from enjoining their illegal conduct.

                                          CONCLUSION

       Accordingly, as outlined in the accompanying proposed order, Plaintiffs request that the

Court grant this Motion for a Preliminary Injunction.




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                                          Plaintiffs and similarly situated members,

                                          By and through their Counsel,

Dated: April 18, 2025                     Respectfully submitted,

                                          /s/ SangYeob Kim
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